AO 245B (WDNC Rev. 02/11) Judgment in a Criminal Case




                                               UNITED STATES DISTRICT COURT
                                                        Western District of North Carolina
    UNITED STATES OF AMERICA                                           )   JUDGMENT IN A CRIMINAL CASE
                                                                       )   (For Offenses Committed On or After November 1, 1987)
                V.                                                     )
                                                                       )
    PAUL RICHARD LUCAS                                                 )   Case Number: DNCW116CR000052-003
                                                                       )   USM Number: 32706-058
                                                                       )
                                                                       )   Fredilyn Sison
                                                                       )   Defendant’s Attorney


THE DEFENDANT:
 ☒ Pleaded guilty to counts 1 and 2 .
 ☐ Pleaded nolo contendere to count(s) which was accepted by the court.
 ☐ Was found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:
                                                                                                               Date Offense
 Title and Section                              Nature of Offense                                               Concluded      Counts
 21 U.S.C. §§ 841(b)(1)(A)                      Conspiracy to Possess with Intent to Distribute                 3/17/2016        1
 and 846                                        Methamphetamine

 21 U.S.C. §§ 841(b)(1)(B)                      Conspiracy to Possess with Intent to Distribute Heroine          3/17/2016         2
 and 846

       The Defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

 ☐      The defendant has been found not guilty on count(s).
 ☒      Count(s) 3, 6-10, 12, 15 and 16 are dismissed on the motion of the United States.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.


                                                                                Date of Imposition of Sentence: 3/2/2017
                                                                                  Signed: March 8, 2017




                                                                                Date: March 8, 2017




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                                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
ONE HUNDRED TEN (110) MONTHS AS TO COUNT ONE AND ONE HUNDRED TEN (110) MONTHS AS TO
COUNT 2, TO BE SERVED CONCURRENTLY.

☒ The Court makes the following recommendations to the Bureau of Prisons:
         1.    Placed in a facility as close to Tampa, Florida, as possible, considering his security classification.
         2.    Participation in any available educational and vocational opportunities.
         3.    Participation in the Federal Inmate Financial Responsibility Program.
         4.    Participation in any available mental health treatment programs.
         5.    Participation in any available substance abuse treatment program and if eligible receive benefits of
               18:3621(e)(2).

☒ The Defendant is remanded to the custody of the United States Marshal.

☐ The Defendant shall surrender to the United States Marshal for this District:

           ☐ As notified by the United States Marshal.
           ☐ At on .

☐ The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           ☐ As notified by the United States Marshal.
           ☐ Before 2 p.m. on .
           ☐ As notified by the Probation Office.


                                                          RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                        United States Marshal
                                                                      By:
                                                                            Deputy Marshal




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                                                                     SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS AS TO COUNT ONE
AND FOUR (4) YEARS AS TO COUNT TWO, SUCH TERMS TO RUN CONCURRENTLY.

☐ The condition for mandatory drug testing is suspended based on the court's determination that the defendant poses a low risk of
future substance abuse.

                                                              CONDITIONS OF SUPERVISION

The defendant shall comply with the mandatory conditions that have been adopted by this court.
       1.     The defendant shall not commit another federal, state, or local crime.
       2.     The defendant shall not unlawfully possess a controlled substance.
       3.     The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
              imprisonment and at least two periodic drug tests thereafter, as determined by the court (unless omitted by the Court).
       4.     The defendant shall cooperate in the collection of DNA as directed by the probation officer (unless omitted by the Court).


The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.
       1.     The defendant shall report to the probation office in the federal judicial district where he/she is authorized to reside within 72 hours of release from
              imprisonment, unless the probation officer instructs the defendant to report to a different probation office or within a different time frame.
       2.     The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.
       3.     The defendant shall not leave the federal judicial district where he/she is authorized to reside without first getting permission from the Court or probation
              officer.
       4.     The defendant shall answer truthfully the questions asked by the probation officer.
       5.     The defendant shall live at a place approved by the probation officer. The probation officer shall be notified in advance of any change in living arrangements
              (such as location and the people with whom the defendant lives).
       6.     The defendant shall allow the probation officer to visit him/her at any time at his/her home or elsewhere, and shall permit the probation officer to take any
              items prohibited by the conditions of his/her supervision that the probation officer observes.
       7.     The defendant shall work full time (at least 30 hours per week) at lawful employment, unless excused by the probation officer. The defendant shall notify the
              probation officer within 72 hours of any change regarding employment.
       8.     The defendant shall not communicate or interact with any persons engaged in criminal activity, and shall not communicate or interact with any person
              convicted of a felony unless granted permission to do so by the probation officer.
       9.     The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer.
      10.     The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed, or
              was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
      11.     The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential informant without the permission of the Court.
      12.     If the probation officer determines that the defendant poses a risk to another person (including an organization), the probation officer may require the
              defendant to notify the person about the risk. The probation officer may contact the person and make such notifications or confirm that the defendant has
              notified the person about the risk.
      13.     The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or controlled
              substance or any psychoactive substances (including, but not limited to, synthetic marijuana, bath salts) that impair a person’s physical or mental functioning,
              whether or not intended for human consumption, or any paraphernalia related to such substances, except as duly prescribed by a licensed medical
              practitioner.
      14.     The defendant shall participate in a program of testing for substance abuse if directed to do so by the probation officer. The defendant shall refrain from
              obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of the testing. If warranted, the defendant shall participate in a
              substance abuse treatment program and follow the rules and regulations of that program. The probation officer will supervise the defendant’s participation in
              the program (including, but not limited to, provider, location, modality, duration, intensity) (unless omitted by the Court).
      15.     The defendant shall not go to, or remain at any place where he/she knows controlled substances are illegally sold, used, distributed, or administered without
              first obtaining the permission of the probation officer.
      16.     The defendant shall submit his/her person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(1)), or other electronic
              communications or data storage devices or media, or office, to a search conducted by a United States Probation Officer and such other law enforcement
              personnel as the probation officer may deem advisable, without a warrant. The defendant shall warn any other occupants that such premises may be subject
              to searches pursuant to this condition.
      17.     The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of probation or the term
              of supervised release in accordance with the schedule of payments of this judgment. The defendant shall notify the court of any changes in economic
              circumstances that might affect the ability to pay this financial obligation.
      18.     The defendant shall provide access to any financial information as requested by the probation officer and shall authorize the release of any financial
              information. The probation office may share financial information with the U.S. Attorney’s Office.
      19.     The defendant shall not seek any extension of credit (including, but not limited to, credit card account, bank loan, personal loan) unless authorized to do so in
              advance by the probation officer.
      20.     The defendant shall support all dependents including any dependent child, or any person the defendant has been court ordered to support.
      21.     The defendant shall participate in transitional support services (including cognitive behavioral treatment programs) and follow the rules and regulations of such
              program. The probation officer will supervise the defendant’s participation in the program (including, but not limited to, provider, location, modality, duration,
              intensity). Such programs may include group sessions led by a counselor or participation in a program administered by the probation officer.
      22.     The defendant shall follow the instructions of the probation officer related to the conditions of supervision.


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                                                         CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.


                   ASSESSMENT                                        FINE                              RESTITUTION
                     $200.00                                         $0.00                                $0.00


☐ The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination.


                                                                     FINE

         The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
on the Schedule of Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

☒ The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

☒ The interest requirement is waived.

☐ The interest requirement is modified as follows:


                                                         COURT APPOINTED COUNSEL FEES

☐ The defendant shall pay court appointed counsel fees.

☐ The defendant shall pay $0.00 towards court appointed fees.




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                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

           A ☐ Lump sum payment of $0.00 due immediately, balance due
                 ☐ Not later than
                 ☐ In accordance ☐ (C), ☐ (D) below; or
           B ☒ Payment to begin immediately (may be combined with ☐ (C), ☒ (D) below); or

           C ☐ Payment in equal Monthly (E.g. weekly, monthly, quarterly) installments of $50.00 to commence
               60 (E.g. 30 or 60) days after the date of this judgment; or

           D ☒ Payment in equal Monthly (E.g. weekly, monthly, quarterly) installments of $50.00 to commence
               60 (E.g. 30 or 60) days after release from imprisonment to a term of supervision. In the event the entire
               amount of criminal monetary penalties imposed is not paid prior to the commencement of supervision, the
               U.S. Probation Officer shall pursue collection of the amount due, and may request the court to establish or
               modify a payment schedule if appropriate 18 U.S.C. § 3572.

Special instructions regarding the payment of criminal monetary penalties:

☐ The defendant shall pay the cost of prosecution.
☐ The defendant shall pay the following court costs:




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☒ The defendant shall forfeit the defendant’s interest in the following property to the United States as set forth in the
Consent Order [Doc. 67] entered 8/3/2016:
        . One Masterpiece Arms, Model Protector II, .380 cal. semi-automatic pistol, serial number X2267 and ammunition
        . One New England Firearms 12 gauge shotgun, serial number 332460 and ammunition
        . One Raven Arms .25 caliber semi-automatic pistol, serial number 1771442 and ammunition
        . One Sturm Ruger & Company .22 cal. revolver, Serial number 263-24536 and ammunition
        . One New England Firearms, .223 cal. rifle with scope, serial number 245112 and ammunition
        . One Stevens, Model 820,12 gauge shotgun, serial number 131051K and ammunition
        . One Ruger, Model 10/22, .22 cal. rifle with scope, serial number 23448036 and ammunition
        . One Savage, Model 110, .270 cal. rifle with scope, serial number F298632 and ammunition
        . One Stevens, Model 89, .22 cal. rifle, serial number E504166 and ammunition
        . One F.I.E., Model 5B., 12 gauge shotgun, serial number 372422 and ammunition
        . One Stevens, Model 62, .22 cal. rifle, serial number L304136 and ammunition
        . One H&R, Model 922,.22 cal. revolver, serial number AMZ0824 and ammunition
        . One Marlin, Model 25, .22 cal. rifle with scope, serial number 01306969 and ammunition
        . One Mossberg, .410 gauge shotgun, serial number T279145 and ammunition
        . One Browning, .279 rifle with scope, serial number 137PP17287 and ammunition
        . One Stevens, Model 1915, .22 cal. rifle, serial number J20l and ammunition
        . One Marlin, Model 25, .22 cal. rifle, serial number 98648523 and ammunition
        . One Fab Nat D Armes, .22 cal. rifle, serial number 010016 and ammunition
        . One Marlin, Model 336, .30-06 rifle, serial number AB3693 and ammunition
        . One Winchester, Model 12, 12 gauge shotgun, serial number 1442857 and ammunition
        . One Marlin, Model 60, .22 cal. rifle, serial number 162324090 and ammunition
        . One Savage, Model 110, .270 cal. rifle with scope, serial number F707794 and ammunition
        . One Savage, Model 116, 7mm magnum rifle with scope, serial number F357782 and ammunition
        . One Remington, Model 522, .22 cal. rifle, serial number 3113257 and ammunition
        . One Interarms, Model 22, .22 cal. rifle, serial number 303172 and ammunition
        . One Winchester, Model 190, .22 cal. rifle, serial number B1537641 and ammunition
        . One Springfield, Model D, .22 cal. rifle, with no identifiable serial number and ammunition
        . One Remington, Model Nylon 12, .22 cal. rifle, serial number AJA7 and ammunition
        . One Verney-Carron, Model Snake Charmer 2, .410 gauge single shot shotgun, serial number 8332 and ammunition
        . One single shot shotgun with no identifiable manufacturer, model or serial number and ammunition
        . One New England Firearms, .410 gauge shotgun, with obliterated serial number and ammunition
        . One Ruger, Model Super Blackhawk, .44 magnum, revolver, serial number 8791684 and ammunition
        . One Ruger, Model SP101, .357 magnum revolver, serial number 57131399 and ammunition
        . One Heritage, Model Rough Rider, .22 cal. revolver, serial number H292522 and ammunition
        . One Armi Elli Tanfoglio, Model TA, .22 cal. revolver, serial number 45658 and ammunition
        . One Armi Elli Tanfoglio, Model E15, .22 cal. revolver, serial number 67896 and ammunition
        . One Colt, Model Commando, .38 special revolver, serial number 9869 and ammunition
        . One RG, Model RG14, .22 cal. revolver, serial number L629709 and ammunition
        . One Hi Point, Model C9, 9mm semi-automatic pistol, serial number P1237803 and ammunition
        . One Cobra, Model C22M, .22 cal. two shot pistol, serial number 001103 and ammunition
        . One Hi Point, Model JHP, .45 cal. semi-automatic pistol, serial number 4143983 and ammunition
        . One Phoenix Arms, Model HP22A, .22 cal. semi-automatic pistol, serial number 4328222 and ammunition
        . One Remington, Model 870 Express, 12 gauge shotgun, serial number A183796M and ammunition
        . One Stevens Arms Westpoint, Model 287N, .22 cal. rifle, with obliterated serial number and ammunition
        . One F.I.E., Model SB, 12 gauge shotgun, serial number 373895 and ammunition

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
monetary penalty payments are to be made to the United States District Court Clerk, 401 West Trade Street, Room 210,
Charlotte, NC 28202, except those payments made through the Bureau of Prisons’ Inmate Financial Responsibility
Program. All criminal monetary penalty payments are to be made as directed by the court.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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                                                         STATEMENT OF ACKNOWLEDGMENT

I understand that my term of supervision is for a period of _______months, commencing on ____________________.

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

I understand that revocation of probation and supervised release is mandatory for possession of a controlled substance,
possession of a firearm and/or refusal to comply with drug testing.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



(Signed)          ____________________________________ Date: _________________
                   Defendant

(Signed)          ____________________________________ Date: _________________
                   U.S. Probation Office/Designated Witness




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